                        IN THE UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF TENNESSEE
                                 NASHVILLE DIVISION


 CONCORD MUSIC GROUP, INC., ET AL.,                 Case No. 3:23-cv-01092
         Plaintiffs,

 v.
                                                    Chief Judge Waverly D. Crenshaw, Jr.
 ANTHROPIC PBC,
                                                    Magistrate Judge Alistair Newbern
         Defendant.


           DECLARATION OF JARED KAPLAN IN SUPPORT OF
 DEFENDANT’S MOTION TO DISMISS FOR LACK OF PERSONAL JURISDICTION
  AND IMPROPER VENUE OR, IN THE ALTERNATIVE, TO TRANSFER VENUE

I, Jared Kaplan, declare the following:

        1.      I am a co-founder and the Chief Science Officer of Anthropic PBC (“Anthropic”)

and submit this declaration in support of Defendant’s Motion to Dismiss for Lack of Personal

Jurisdiction and Improper Venue or, in the Alternative, to Transfer Venue.          Unless stated

otherwise, all facts stated herein are within my personal knowledge.

        2.      I have been the Chief Science Officer of Anthropic since 2023, and I was previously

a manager at Anthropic since its founding in 2021. I have extensive personal knowledge regarding

Anthropic, and a detailed understanding of Anthropic’s business operations and practices. This

includes a deep understanding and knowledge of how Anthropic’s generative artificial intelligence

model was created and trained, its technical capacities and processes, and Anthropic’s goals for,

and business operations of, the model today. If called upon, I would be willing to testify as set

forth in this declaration.




Case 3:23-cv-01092           Document 55-1      Filed 11/22/23     Page 1 of 7 PageID #: 2824
       3.       I have read the Complaint filed by Plaintiffs in this Action and understand Plaintiffs

have alleged, in part, that this Court has personal jurisdiction over Anthropic in the Middle District

of Tennessee.

                                     Anthropic’s Operations

       4.       Anthropic is incorporated under the laws of Delaware.

       5.       Anthropic’s headquarters and principal place of business are in San Francisco,

California. Anthropic’s only official office outside of California as of the date of this declaration

is in London, United Kingdom.

       6.       Anthropic located its headquarters in San Francisco, California due, in part, to its

many critical connections and partnerships in California, which have been instrumental to

Anthropic’s development and creation of a generative AI product, and to the continued working

of that product today. Anthropic’s proximity to its partners in California has been critical to

facilitating this relationship and developing Anthropic’s business.

       7.       As of the date of the Complaint, the vast majority of Anthropic’s employees live in

and work from California. This includes Anthropic’s leadership, as well as its team of engineers

involved in the design, training, and operation of Anthropic’s generative artificial intelligence

model, “Claude.” Of Anthropic’s 261 employees, only three live in Tennessee and work remotely

with teams based in California. The three employees’ job titles are:

                a.     Recruiter

                b.     Member of Technical Staff, Research Engineer

                c.     Interim Head of Product and Head of Business Operations




                                                  2
Case 3:23-cv-01092         Document 55-1         Filed 11/22/23       Page 2 of 7 PageID #: 2825
        8.      Anthropic does not require these employees to live in and work from Tennessee.

These employees’ jobs are based in California, and these employees work remotely with their

California teams from their homes in Tennessee.

        9.      None of the above-listed employees is responsible for the training, development,

decision making, and/or promotion of Anthropic’s generative artificial intelligence model,

“Claude”, or for any of the alleged activities in the Complaint. All of those alleged activities

attributable to Anthropic are performed and overseen by Anthropic employees in California.

        10.     It is my understanding that all key witnesses with relevant information and

knowledge related to the above-captioned lawsuit are located in California.

                 Anthropic’s Generative Artificial Intelligence Model: Claude

        11.     Anthropic is an artificial intelligence safety and research company working to

develop generative AI models. Generally speaking, generative AI models are software designed

to generate original text, images, and computer code at a level that approximates human

capabilities.

        12.     One category of generative AI models is large language models (“LLMs”).

Generally speaking, LLMs are text-based generative AI models that use deep learning techniques

and large data sets they have trained on to understand, summarize, generate, and predict new

content.

        13.     After years of research, development, and training, Anthropic released its signature

product, Claude, in March 2023 and Claude 2 in July 2023 (collectively, “Claude”). Claude is a

conversational AI model, specifically a general purpose LLM, that allows users to engage in

general, open-ended conversations involving complex reasoning, creativity, thoughtful dialogue,

coding, or detailed content creation. As a result of the statistical, relational, and factual information




                                                   3
Case 3:23-cv-01092          Document 55-1         Filed 11/22/23       Page 3 of 7 PageID #: 2826
gleaned from its training, users can prompt Claude to create original works, including original text

and computer code, at levels that approximate human cognition. Claude is designed to use the

learnings from its training to facilitate the creation of new, original content.

        14.     Claude is trained on a “proprietary mix of publicly available information from the

Internet, datasets that [Anthropic] licenses from third party businesses, and data that . . . crowd

workers provide.” See Model Card and Evaluations for Claude Models at 2, a true and correct

copy of which is attached as Exhibit A. Anthropic collects this training material for its “corpus”

transparently, and in such a way that website operators can identify when Anthropic is accessing

its website.

        15.     Claude was trained to learn and recognize language principles from vast data sets

consisting of preexisting written content, which are known collectively as the “training corpus.”

The training corpus may include text from publicly available websites on the Internet, open sources

of pre-collected data sets, or data acquired from private sources.

        16.     Claude was trained by first breaking down the training corpus into “tokens,” which

are basic units that can be mathematically represented. These tokens were, on average, roughly

3.5 characters in length.

        17.     For any given LLM model, an enormous number of tokens are required to properly

train a functional LLM and to ultimately allow the LLM to recognize patterns in language to any

useful degree. For example, Anthropic’s LLM Claude and Claude 2 were each trained using more

than a trillion tokens.

        18.     Claude’s training process involved examining each token in the context of the text

in which it appears as a whole and extracting statistical correlations between that token and other




                                                  4
Case 3:23-cv-01092          Document 55-1        Filed 11/22/23       Page 4 of 7 PageID #: 2827
parts of that text. In doing so, Claude was able to build a highly complex statistical model of the

human language.

       19.     Building an accurate model of human language required Anthropic to collect a huge

volume and a broad diversity of data. At the same time, Anthropic had and has no interest in

extracting or retaining the actual expressive content of any particular text used to train Claude.

The goal instead was and is to merely extract statistical inferences about language based on the

relationships among various pieces of text.

       20.     Claude was created, trained, and developed at Anthropic’s headquarters in San

Francisco, California. The majority of the engineers that work on and train Claude on a day-to-

day basis are based in California. The remaining engineers are located in London, New York, and

Seattle, not Tennessee.

       21.     Key Anthropic employees involved in the decision making regarding development,

training, and data collection are almost entirely based in California. At no point during Claude’s

development did any of Anthropic’s employees working on Claude perform that work from

Tennessee.

       22.     Other aspects of operations related to Anthropic’s training of Claude similarly take

place outside of Tennessee: the computers and data used to train Claude are hosted in Northern

Virginia, the servers that host Claude today are based in Iowa, and Claude’s source code is located

remotely on GitHub (a Delaware corporation headquartered in San Francisco, California).

       23.     Anthropic’s Claude website and API are maintained by employees based in

California.




                                                5
Case 3:23-cv-01092        Document 55-1        Filed 11/22/23      Page 5 of 7 PageID #: 2828
       24.     Anthropic offers Claude to users in every part of the country subject to the same

Terms. At no point has Anthropic marketed Claude specifically or differently to users in

Tennessee, or targeted users in Tennessee, and it has no plans to do so.

       25.     Users accessing Claude from Anthropic’s website (https://claude.ai) must provide

their email address, confirm they are over 18 years old, and affirmatively agree to Anthropic’s

Terms, Acceptable Use Policy, and Privacy Policy. Among other terms, users must agree to

“submit to the personal and exclusive jurisdiction” of courts in California and “waive any claims

that may arise under the laws of other jurisdictions.”              Anthropic’s Terms of Service

(https://console.anthropic.com/legal/terms) at 3, a true and correct copy of which is attached as

Exhibit B. This language in Anthropic’s Terms of Service is important to Anthropic, given its

centralized location and relatively small size, in order to avoid the potential strain on its business

of addressing claims brought by any of its many users located in less convenient forums across the

United States and beyond. Even prior to Anthropic’s current, September 6, 2023 Terms of Service,

all users had to agree to arbitrate any “legal or equitable claim, dispute, action or proceeding arising

from or related to [users’] use of [Anthropic’s] Services” in San Francisco, California. Anthropic’s

Prior Terms of Service at 8, a true and correct copy of which is attached as Exhibit C.

       26.     Anthropic oversees all marketing and sales efforts from its California headquarters,

and generally strives for a global reach in its marketing practices. For example, all of Anthropic’s

past and current marketing activity has been general and organic in nature, including social media

posts on the Internet, Anthropic’s website, and Anthropic’s blog posts—all of which are available

to and accessible by users all over the world. Anthropic has also engaged in email campaigns to

its subscribers, which again, access Claude from all over the world. Anthropic has not undertaken

any Tennessee-specific advertisements for Claude and has no plans to do so in the future.




                                                   6
Case 3:23-cv-01092          Document 55-1         Filed 11/22/23      Page 6 of 7 PageID #: 2829
       27.     Anthropic has never received any complaints from any users via a customer support

alias about Claude producing allegedly infringing outputs, let alone any complaints from within

Tennessee.   Nor has Anthropic ever received a copyright takedown notice from a user in

Tennessee.

       I declare under penalty of perjury that to the best of my knowledge, information, and belief,

the foregoing statements are true and correct.




       Executed on November 22, 2023 at San Francisco, California.


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                                                                     _______________________
                                                                     Jared Kaplan




                                                  7
Case 3:23-cv-01092        Document 55-1          Filed 11/22/23    Page 7 of 7 PageID #: 2830
